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                    IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MARYLAND


                                           )
UNITED STATES OF AMERICA,                  )
                                           )
v.                                         )       Criminal Case No. 22-cr-00007-LKG
                                           )
MARILYN J. MOSBY,                          )       Dated: December 20, 2022
                                           )
       Defendant.                          )
                                           )

                                 SCHEDULING ORDER
      The hearing to be held on the matters set forth below on Tuesday, January 17, 2023, at
11a.m., will be held in Courtroom 1A of the Edward A. Garmatz Courthouse, 101 W.
Lombard Street, Baltimore, MD:

      1.     The Government’s motion for an order pursuant to Local Rules 204 and 603,
             dated September 15, 2022 (ECF No. 120);
      2.     The Court’s Order to Show Cause, dated September 30, 2022 (ECF No. 124); and

      3.     Defendant’s motion to transfer venue, dated October 20, 2022 (ECF No. 129).

      IT IS SO ORDERED.



                                               s/ Lydia Kay Griggsby
                                               LYDIA KAY GRIGGSBY
                                               United States District Judge
